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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

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                                   7    F.G., et al.,                                       Case No. 24-cv-01261-JST
                                                        Plaintiffs,
                                   8
                                                                                            ORDER RE CORRECTIVE NOTICE
                                                 v.
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                                                                                            Re: ECF No. 57
                                  10    COOPERSURGICAL, INC., et al.,
                                                        Defendants.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13            Now before the Court is the parties’ joint submission concerning the corrective disclosure

                                  14   the Court previously ordered Defendants to make. ECF No. 57; see also ECF No. 52.

                                  15            The Court adopts Plaintiff’s proposed corrective notice, ECF No. 57-1, pursuant to the

                                  16   analysis set forth in Cnty of Santa Clara v. Astra USA, Inc., 2010 WL 2724512 (N.D. Cal. July 8,

                                  17   2010).

                                  18            IT IS SO ORDERED.

                                  19   Dated: June 5, 2024
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                                                                                                      JON S. TIGAR
                                  21                                                            United States District Judge

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